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                                          UNITED STATES DISTRICT COURT
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                                                   DISTRICT OF NEVADA
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         UNITED STATES OF AMERICA,
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                                  Plaintiff,
         vs.                                                           Case No. 2:15–cr–00014–APG–VCF
6

         OMAR QAZI,                                                    ORDER
7

                                 Defendant.                            MOTION TO STRIKE OR DENY (ECF NO. 405)
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10              Before the Court is the Government’s Motion to Strike, or Alternatively Deny, Defendant’s Filing

11   Title “Judicial Notice of Bad Behavior.” (ECF No. 405). For the reasons stated below, the Government’s
12   motion to deny the “Judicial Notice of Bad Behavior” is granted.
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                On February 23, 2018, Defendant filed a document titled “Judicial Notice of Bad Behavior.” (ECF
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     No. 401). Though the title does not indicate that it is a motion, Defendant requested that the Court take
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     judicial notice of certain facts and that “The Chief District Judge for the District of Nevada [] reassign
16
     different judges to this case.” (Id. at 10).
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                On March 2, 2018, the Government filed a motion to strike or deny Defendant’s “Judicial Notice
18
     of Bad Behavior.” (ECF No. 405). The Government argues that Defendant improperly requests the
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     “Court to take judicial notice of conclusory assertions.”1 (Id. at 2-3). In opposition, Defendant asserts
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21   “[t]he entire purpose of this Judicial Notice was to demonstrate the clear Bad Behavior of the judges.”

22   (ECF No. 407 at 2).

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       The Court will not address the Government’s arguments relating to the caption of the filing, as the Government states it will
25   file a separate motion to address this issue across multiple filings by Defendant. (ECF No. 405 at 2).

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            The Court finds that Defendant’s “Judicial Notice of Bad Behavior” is not a proper motion for the
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     Court to take judicial notice of the circumstances Defendant cites. “The court may judicially notice a fact
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     that is not subject to reasonable dispute,” Fed. R. Evid. 201(b), “including documents on file in federal or

4    state courts,” Harris v. Cty. of Orange, 682 F.3d 1126, 1132 (9th Cir. 2012). While Defendant includes

5    lengthy quotes from the docket in this case, Defendant does not merely ask the Court to acknowledge that

6    the quotes exist. Defendant asks the Court to interpret these statements and their impact on the case. (ECF
7    No. 401 at 3-10). These findings would be subject to reasonable dispute, and are not the proper purpose
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     of a motion to take judicial notice. To the extent that Defendant seeks to disqualify or challenge the judges
9
     assigned to this case, Defendant must file a proper motion rather than a “Judicial Notice of Bad Behavior.”
10
            While the Court finds no merit in Defendant’s “Judicial Notice of Bad Behavior,” it is unnecessary
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     to strike the filing. The Court will, as the Government proposes in its alternative request for relief,
12
     construe the “Judicial Notice of Bad Behavior” as a motion and deny the motion.
13
            ACCORDINGLY, and for good cause shown,
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            IT IS ORDERED that the Government’s Motion to Strike, or Alternatively Deny, Defendant’s
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16   Filing Title “Judicial Notice of Bad Behavior” (ECF No. 405) is GRANTED. Defendant’s “Judicial

17   Notice of Bad Behavior” is hereby denied.

18          IT IS SO ORDERED.

19          DATED this 26th day of March, 2018.
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22                                                                 CAM FERENBACH
                                                                   UNITED STATES MAGISTRATE JUDGE
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